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Tatonduk |

OUTFITTE
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d/b/a Everts Air Alaska, d/b/a/ Everts Air Cargo * P.O, Box 61680, Fairbanks, AK 99706-1680 * (907) 450-2345, fax: (907) 450-2320 « www.evertsair.com

 

 

 

 

To: The Honorable, Judge Shannon,
United States Federal Bankruptcy Court
District of Delaware
824 Market STN
3rd Floor
Wilmington, DE 19801 April 8, 2020

Tatonduk Outfitters Limited, an Alaska corporation, would like to express our strong desire to
the Court, to acquire, through purchase or lease, the following real properties and or buildings
owned or leased by the various companies of the Ravn Air Group Inc (Section (a) below),
currently held in Chapter 11 by the US Bankruptcy Court over seen by the Honorable, Judge
Shannon.

Tatonduk Outfitters Limited, d/b/a Everts Air Cargo, and d/b/a Everts Air Alaska, would like to
purchase or at a minimum lease the following real properties currently in the Ravn Air Group of
companies and located in the following cities:

1. Bethel, Alaska
Fairbanks, Alaska
Galena, Alaska
Anchorage, Alaska
Deadhorse, Alaska
Barrow, Alaska

7. King Salmon, Alaska

Au PWD

| look forward to discussing this with the Court.

Best Regards,

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Robert W. Everts

President/CEO

Tatonduk Outfitters Limited

d/b/a Everts Air Cargo, and d/b/a Everts Air Alaska

 

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(a) Bankruptcy Court Cases

d/b/a Everts Air Alaska, d/b/a/ Everts Air Cargo * P.O. Box 61680, Fairbanks, AK 99706-1680 » (907) 450-2345, fax: (907) 450-2320 © www.evertsair.com

 

Case # Chapter Case Date Filed Judge

als. Ravn Air Group, Inc. 04/05/2020 Shannon
20-4 0756-0 Ravn Air Group Holdings, 04/05/2020 Shannon
aS 11 dM, Inc. 04/05/2020 Shannon
ats. 11 HTH, Inc. 04/05/2020 Shannon
ote 0759- 11 Corvus Airlines, Inc. 04/05/2020 Shannon
ols 11.‘ Frontier Flying Service, Inc. 04/05/2020 Shannon
ae 0761- 14 pageland Aviation Services, 04/05/2020 Shannon
20-10762- 14 Peninsula Aviation Services, 04/05/2020 Shannon

BLS

Inc.

 
